2AO 245C (Rev. ) Amended Judgment in2:18-cr-20028-MMM-EIL                        # 313       Page 1 of 5
                Sheet 1
                                         a Criminal Case
                                                                                                                                                     E-FILED
                                                                                                                        (NOTE: Identify Changes with Asterisks (*))

                                                                                                         Thursday, 01 October, 2020 01:35:21 PM
                                                                                                                    Clerk, U.S. District Court, ILCD
                                            UNITED STATES DISTRICT COURT
                                                     CENTRAL            District of        ILLINOIS

           UNITED STATES OF AMERICA                                              AMENDED JUDGMENT IN A CRIMINAL CASE
                                V.
                                                                                 Case Number: 18-20028-003
                      KAMAAL L. DUDLEY
                                                                                 USM Number: 22536-026
Date of Original Judgment:                6/16/2020                              Steven Sarm
(Or Date of Last Amended Judgment)                                               Defendant’s Attorney

Reason for Amendment:
G Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))                G Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
✔ Reduction of Sentence for Changed Circumstances (Fed. R. Crim.
G                                                                                G Modification of Imposed Term of Imprisonment for Extraordinary and
    P. 35(b))                                                                          Compelling Reasons (18 U.S.C. § 3582(c)(1))
G Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))            G Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
G Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                    to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))

                                                                                 G Direct Motion to District Court Pursuant G 28 U.S.C. § 2255 or
                                                                                   G 18 U.S.C. § 3559(c)(7)
                                                                                 G Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
✔
G    pleaded guilty to count(s)        1s, 6s-16s
G   pleaded nolo contendere to count(s)
    which was accepted by the court.
G was found guilty on count(s)
    after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                      Nature of Offense                                                              Offense Ended                  Count
 18 USC §§ 371 & 2                    Conspiracy                                                                      5/17/2018                     1s

 18 USC § 1952(a)(3)(A) & 2           Use of Facility in Interstate Commerce in Aid of a                              1/5/2018                      6s-16s

                                     Racketeering Enterprise
       The defendant is sentenced as provided in pages 2 through                  5          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G    The defendant has been found not guilty on count(s)
G    Count(s)                                                 G is G are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                10/1/2020
                                                                                Date of Imposition of Judgment
                                                                                                                               s/ James E. Shadid


                                                                                 Signature of Judge
                                                                                 James E. Shadid                                  U.S. District Judge
                                                                                 Name of Judge                                    Title of Judge
                                                                                                               
                                                                                 Date
 AO 245C                               2:18-cr-20028-MMM-EIL
            (Rev. ) Amended Judgment in a Criminal Case                 # 313    Page 2 of 5
            Sheet 2 — Imprisonment                                                                      (NOTE: Identify Changes with Asterisks (*))

                                                                                                     Judgment — Page       2     of         5
 DEFENDANT: KAMAAL L. DUDLEY
 CASE NUMBER: 18-20028-003

                                                           IMPRISONMENT

     The defendant is hereby committed to the custody of the )HGHUDO Bureau of Prisons to be imprisoned for atotal
 term of
* TIME SERVED




 G The court makes the following recommendations to the Bureau of Prisons:




 G The defendant is remanded to the custody of the United States Marshal.

 G The defendant shall surrender to the United States Marshal for this district:
      G     at                                   G      a.m   G     p.m.         on                                    .

      G     as notified by the United States Marshal.

 G    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

      G     before 2 p.m. on                                            .

      G     as notified by the United States Marshal.

      G     as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
 I have executed this judgment as follows:




      Defendant delivered on                                                          to

 at                                                     with a certified copy of this judgment.




                                                                                                  UNITED STATES MARSHAL


                                                                            By
                                                                                            DEPUTY UNITED STATES MARSHAL
                                             2:18-cr-20028-MMM-EIL # 313                        Page 3 of 5
 AO 245C       (Rev. ) Amended Judgment in a Criminal Case
               Sheet 3 — Supervised Release                                                                          (NOTE: Identify Changes with Asterisks (*))

                                                                                                                  Judgment—Page        3      of         5
 DEFENDANT: KAMAAL L. DUDLEY
 CASE NUMBER: 18-20028-003
                                                            SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of

2 years on each of Counts 1s and 6s-16s, with all counts to be served concurrently.



          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
 the custody of the Bureau of Prisons.
    <RXPXVWQRWFRPPLWDQRWKHUIHGHUDOVWDWHRUORFDOFULPH
 <RXPXVWQRWXQODZIXOO\SRVVHVVDFRQWUROOHGVXEVWDQFH
 <RXPXVWUHIUDLQIURPDQ\XQODZIXOXVHRIDFRQWUROOHGVXEVWDQFH<RXPXVWVXEPLWWRRQHGUXJWHVWZLWKLQGD\VRIUHOHDVHIURP
     LPSULVRQPHQWDQGDWOHDVWWZRSHULRGLFGUXJWHVWVWKHUHDIWHUDVGHWHUPLQHGE\WKHFRXUW
             G 7KHDERYHGUXJWHVWLQJFRQGLWLRQLVVXVSHQGHGEDVHGRQWKHFRXUW VGHWHUPLQDWLRQWKDW\RX
                  SRVHDORZULVNRIIXWXUHVXEVWDQFHDEXVH FKHFNLIDSSOLFDEOH
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         ✔ <RXPXVWFRRSHUDWHLQWKHFROOHFWLRQRI'1$DVGLUHFWHGE\WKHSUREDWLRQRIILFHU(check if applicable)
       G <RXPXVWFRPSO\ZLWKWKHUHTXLUHPHQWVRIWKH6H[2IIHQGHU5HJLVWUDWLRQDQG1RWLILFDWLRQ$FW 86&et seq DV
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             UHVLGHZRUNDUHDVWXGHQWRUZHUHFRQYLFWHGRIDTXDOLI\LQJRIIHQVH(check if applicable)
       G <RXPXVWSDUWLFLSDWHLQDQDSSURYHGSURJUDPIRUGRPHVWLFYLROHQFH(check if applicable)
         ,IWKLVMXGJPHQWLPSRVHVDILQHRUUHVWLWXWLRQLWLVDFRQGLWLRQRIVXSHUYLVHGUHOHDVHWKDWWKHGHIHQGDQWSD\LQDFFRUGDQFHZLWKWKH
 6FKHGXOHRI3D\PHQWVVKHHWRIWKLVMXGJPHQW
        The defendant must comply with the IROORZLQJ conditions
     1. The defendant shall not knowingly leave the federal judicial district without the permission of the court or probation officer.

     2. You shall report to the probation office in the district to which you are released within 72 hours of release from custody. You shall report to the
     probation officer in a reasonable manner and frequency as directed by the court or probation officer.

     3. The defendant shall follow the instructions of the probation officer as they relate to the defendant’s conditions of supervision. Any answers the
     defendant gives in response to the probation officer’s inquiries as they relate to the defendant’s conditions of supervision must be truthful. This
     condition does not prevent the defendant from invoking his Fifth Amendment privilege against self-incrimination.

     4. The defendant shall notify the probation officer at least ten days prior, or as soon as knowledge is gained, to any change of residence or
     employment which would include both the change from one position to another as well as a change of workplace.

     5. The defendant shall permit a probation officer to visit him at home or any other reasonable location between the hours of 6 a.m. and 11 p.m.,
     unless investigating a violation or in case of emergency. The defendant shall permit confiscation of any contraband observed in plain view of the
     probation officer.

     6. The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer.

     7. The defendant shall not knowingly be present at places where controlled substances are illegally sold, used, distributed, or administered.

     8. The defendant shall not knowingly meet, communicate, or otherwise interact with a person whom he knows to be engaged, or planning to be
     engaged, in criminal activity.

     9. You shall not purchase, possess, use, distribute, or administer any controlled substance or psychoactive substances that impair physical or
     mental functioning except as prescribed by a physician. You shall, at the direction of the U.S. Probation Office, participate in a program for
     substance abuse treatment including not more than six tests per month to determine whether you have used controlled substances. You shall abide
     by the rules of the treatment provider. You shall pay for these services, if financially able, as directed by the U.S. Probation Office.

     10. The defendant shall attempt to secure regular and lawful employment, unless excused by the probation office for schooling, training, or other
     acceptable reasons. The defendant shall keep the probation officer advised of any changes in his employment status.
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AO 245C    (Rev. ) Amended Judgment in a Criminal Case
           Sheet 5 — Criminal Monetary Penalties                                                               (NOTE: Identify Changes with Asterisks (*))

                                                                                                         Judgment — Page      4     of            5
DEFENDANT: KAMAAL L. DUDLEY
CASE NUMBER: 18-20028-003
                                            CRIMINAL MONETARY PENALTIES
    The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                     Assessment                                           Fine                                 Restitution
TOTALS           $ 1,200.00                                           $ 0.00                                 $ 0.00


G   The determination of restitution is deferred until                           . An Amended Judgment in a Criminal Case (AO 245C) will be
    entered after such determination.

G   The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
    in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                                                        Total Loss*                  Restitution Ordered      Priority or Percentage




TOTALS                                                           $                         0.00    $              0.00

G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     G    the interest requirement is waived for        G     fine      G   restitution.

     G    the interest requirement for         G     fine       G      restitution is modified as follows:



* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
                                        2:18-cr-20028-MMM-EIL # 313                     Page 5 of 5
AO 245C     (Rev. ) Amended Judgment in a Criminal Case
            Sheet 6 — Schedule of Payments                                                                (NOTE: Identify Changes with Asterisks (*))

                                                                                                       Judgment — Page      5       of         5
DEFENDANT: KAMAAL L. DUDLEY
CASE NUMBER: 18-20028-003

                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    ✔
     G    Lump sum payment of $ 1,200.00                       due immediately, balance due

          G    not later than                                      , or
          G    in accordance with     G    C,    G    D,       G   E, or    G F below; or
B    G    Payment to begin immediately (may be combined with               G C,      G D, or    G F below); or
C    G    Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                      (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D    G    Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                  over a period of
                       (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G    Payment during the term of supervised release will commence within               (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    G    Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




G    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), 7RWDO$PRXQWJoint and Several Amount,
     andcorresponding payee, if appropriate.




G    The defendant shall pay the cost of prosecution.

G    The defendant shall pay the following court cost(s):

G    The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
